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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                                  No. 4:13CR00074-02 JLH

SANTRIANA S. HAWKINS                                                        DEFENDANT

                                               ORDER

       The government has filed a motion to dismiss indictment as to Santriana S. Hawkins.

Without objection, the motion is GRANTED. Document #33. The indictment is hereby dismissed

without prejudice as to this defendant only.

       IT IS SO ORDERED this 14th day of October, 2014.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
